

GCS Second Ave. Owner LLC v Merchants Hospitality Inc. (2021 NY Slip Op 02244)





GCS Second Ave. Owner LLC v Merchants Hospitality Inc.


2021 NY Slip Op 02244


Decided on April 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 13, 2021

Before: Manzanet-Daniels, J.P., Mazzarelli, Oing, Kennedy, JJ. 


Index No. 652348/17 Appeal No. 13587 Case No. 2020-01892 

[*1]GCS Second Avenue Owner LLC, Plaintiff-Respondent,
vMerchants Hospitality Inc., Defendant-Appellant, Abraham Merchant, et al., Defendants.


Alonso, Andalkar &amp; Facher, P.C., New York (Mark J. Alonso of counsel), for appellant.
Blank Rome LLP, New York (Harris N. Cogan of counsel), for respondent.



Order, Supreme Court, New York County (Joel M. Cohen, J.), entered February 3, 2020, which granted plaintiff's motion for summary judgment on its breach of contract claim, unanimously affirmed, with costs.
The court correctly found that the pertinent terms of the May 29, 2014 letter agreement were unambiguous, and required that defendant Merchants Hospitality Inc. pay to plaintiff an amount set forth in the agreement, since the triggering event identified therein had occurred (see generally MPEG LA, LLC v Samsung Elecs. Co., Ltd., 166 AD3d 13, 17 [1st Dept 2018], lv denied 32 NY3d 912 [2018]). Since the terms were unambiguous, we need not reach the parties' contentions regarding extrinsic evidence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 13, 2021








